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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


JOHN DOE,

                    Petitioner,

                    v.                             No. 17-cv-2069 (TSC)

GEN. JAMES N. MATTIS,
 in his official capacity as SECRETARY OF
 DEFENSE,

                    Respondent.



            PETITIONER’S REPLY TO RESPONDENT’S RESPONSE TO
               PETITIONER’S RESPONSE TO FACTUAL RETURN
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        This Court is the first to be confronted with an exceedingly important question: can the

executive indefinitely detain without charge a U.S. citizen member of ISIS, absent any statute

specifically authorizing the use of force against that group? Because the government fails to establish

the clear and unmistakable congressional authorization that the Constitution and federal law require

for Petitioner’s military detention, the answer is no. Petitioner respectfully asks this Court to order

that the government either charge him with a crime in an Article III court or release him.

I.      The executive is not entitled to deference on its legal authority to detain.

        The government concedes that “the political question doctrine does not preclude judicial

review” in this case. Response (“Resp.”) 6, ECF No. 74. Nonetheless, it cites a number of cases

addressing non-justiciable political questions—almost all of which explicitly distinguish habeas

actions, like this one, in which individual liberties are at stake—and argues that they favor granting

“wide deference” to the executive’s unilateral interpretations of congressional statutes and the

Constitution. Resp. 4. The Court should reject this extreme argument.

        Judicial review of the executive’s legal authority to detain has been a quintessential function

of habeas corpus for centuries. See, e.g., Boumediene v. Bush, 553 U.S. 723, 740–41 (2008); INS v. St.

Cyr, 533 U.S. 289, 301 (2001); see also Gerald L. Neuman, Jurisdiction and the Rule of Law after the 1996

Immigration Act, 113 Harv. L. Rev. 1963, 1965 (2000) (“[T]he fundamental historical purpose of the

writ was to control unlawful executive detention, including executive detention without legal

authority and executive detention in violation of legal restrictions.”). Contrary to the government’s

suggestion, Resp. 4–8, courts have never deferred to the executive’s unilateral determination of its

legal authority to detain a citizen, even in wartime. Indeed, in Hamdi, the Supreme Court reviewed

the executive’s authority to detain a citizen as an enemy combatant, and it nowhere suggested any

deference was due to the executive on this legal determination. See Hamdi v. Rumsfeld, 542 U.S. 507,

516–21 (2004). The Court, moreover, “reject[ed] the Government’s assertion that separation of
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powers principles mandate a heavily circumscribed role for the courts” in determining the legality of

a citizen’s detention, even in the circumstances of an alleged battlefield capture—the same argument

the government tries to revive here. Id. at 535. 1

        Contrary to the government’s argument, neither Boumediene nor Al-Bihani v. Obama, 590 F.3d

866 (D.C. Cir. 2010), supports the government’s claim of “wide deference” on its legal authority to

detain Petitioner. See Resp. 6. As an initial matter, because neither case involved U.S. citizens, neither

court needed to confront the effects of the Constitution’s and the Non-Detention Act’s clear-

statement requirements. See infra Part II; see Petitioner’s Response (“Traverse”) 5–8, ECF No. 59.

Further, Boumediene—a case that resolved a dispute between non-citizens’ habeas rights and the

executive’s detention authority in favor of the non-citizens—did not address the “content of the law that

governs petitioners’ detention.” 553 U.S. at 798. In fact, the Supreme Court even stressed that “[t]he

habeas court must have sufficient authority to conduct a meaningful review of both the cause for

detention and the Executive’s power to detain,” id.; see id. at 788. And in Al-Bihani, the D.C. Circuit

did not afford the executive any deference in reviewing petitioner’s threshold legal claim that the

particular group to which he allegedly belonged—the 55th Arab Brigade—fell outside the scope of

the 2001 AUMF. 590 F.3d at 873. The passage from Al-Bihani on which the government relies, see

Resp. 6, concerned the end of hostilities against the Taliban, and came after the court agreed that

“the government’s detention authority [had been] established as an initial matter.” 590 F.3d at 874. 2


1
  Courts have also rejected the government’s political question argument in non-habeas cases
involving the adjudication of individual rights. See, e.g., Al-Aulaqi v. Panetta, 35 F. Supp. 3d 56, 69–70
(D.D.C. 2014) (rejecting political question doctrine’s application to Bivens action seeking remedy for
missile strikes killing U.S. citizens because “[t]he Bill of Rights was passed to protect individuals
from an overreaching government,” even though the strikes “‘implicate[d] foreign policy decisions’”
(quoting Comm. of U.S. Citizens Living in Nicar. v. Reagan, 859 F.2d 929, 935 (D.C. Cir. 1988))).
2
 The government also briefly references the Supreme Court’s decision in Munaf v. Geren, 553 U.S.
674 (2008), Resp. 7, which addressed a habeas challenge to transfer, not to detention. And the
government’s quoted passage related solely to a court’s limited ability to “second-guess” the
executive’s factual determination about a risk of torture in a receiving country after the executive had


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        The government relies heavily on non-habeas cases addressing issues that—unlike habeas

challenges to executive detention—are subject to the political question doctrine. See Resp. 5–6. But

these same cases underscore that “the Constitution specifically contemplates a judicial role” in

habeas cases challenging detention. See, e.g., El-Shifa Pharm. Indus. Co. v. United States, 607 F.3d 836,

848 (D.C. Cir. 2010); accord Smith v. Obama, 217 F. Supp. 3d 283, 303 n.17 (D.D.C. 2016) (noting the

“traditional and appropriate judicial role” for judicial review of detention on habeas), appeal pending,

No. 16-5377 (D.C. Cir. filed July 1, 2014); Al-Aulaqi v. Obama, 727 F. Supp. 2d 1, 49–50 (D.D.C.

2010) (“[T]he Suspension Clause reflects a ‘textually demonstrable commitment’ of habeas corpus

claims to the Judiciary . . . .” (quoting Baker v. Carr, 369 U.S. 186, 217 (1962))). 3 The Court should

reject the government’s attempt to import deference from non-habeas cases through the back door.

        Despite the inapplicability of the political question doctrine here, the government argues that

“[j]udicial adjudication” of the executive’s legal authority to detain Petitioner “is all the more

inappropriate” because “Congress’s support” for the executive’s expansive interpretations of the

2001 and 2002 AUMFs in the form of spending and oversight measures “is clear.” Resp. 8. But

Congress’s “support”—through appropriations bills or otherwise—is hardly clear, 4 and as the


established affirmative legal authority for a citizen’s transfer. Munaf, 553 U.S. at 702.
3
 The government’s argument for deference effectively seeks to relitigate its past argument that the
executive’s authority to detain “enemy combatants” is a “quintessentially military judgment.” Resp’t
Br. 25, Hamdi v. Rumsfeld, 542 U.S. 507 (2004) (No. 03-6696); see also Resp’t Br. 47–50, Rasul v. Bush,
542 U.S. 466 (2004) (Nos. 03-334, 03-343). The Supreme Court decisively rejected that argument. See
Hamdi, 542 U.S. at 531, 517–34 (2004) (plurality op.); Rasul v. Bush, 542 U.S. 466, 484 (2004).
4
  The Authorizations for the Use of Military Force: Administration Perspective: Hearing before the S. Comm. on
Foreign Relations, 115th Cong. at 2:35:00 (2017) (statement of Sen. Rand Paul, Member, S. Comm. on
Foreign Relations), https://www.foreign.senate.gov/hearings/watch?hearingid=2F070326-5056-
A066-606C-530296B48DBE (discussing passing a new AUMF and stating that “[w]hile some would
argue that we could just not appropriate money, that becomes very difficult, even in Vietnam, no
one wanted to cut off the money because no one wants to be accused of not giving money to
soldiers in the field. So our real, only chance of preventing war is not to initiate the war”); Press
Release, Sen. Ben Cardin, Cardin Statement on Authorization for Use of Military Force Against the
Islamic State (Dec. 9, 2014), https://www.cardin.senate.gov/newsroom/press/release/cardin-
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government acknowledges, these measures “do not themselves authorize the military campaign

against” ISIS. Return ¶ 45, ECF No. 66-1. In any event, whatever “support” Congress may have

shown fails to satisfy the clear-statement requirement for the detention of a U.S. citizen. See infra

Part II; Traverse 33–35. 5

II.     Congress must clearly authorize Petitioner’s detention.

        The text of the Non-Detention Act is plain: “No citizen shall be imprisoned or otherwise

detained by the United States except pursuant to an Act of Congress.” 18 U.S.C. § 4001(a). 6 Plain

meaning is overcome only in the “rare cases” where “the literal application of a statute will produce

a result demonstrably at odds with the intention of its drafters.” Detweiler v. Pena, 38 F.3d 591, 596

(D.C. Cir. 1994) (citation omitted). That is not the case here.

        Searching for ambiguity, the government argues that “§ 4001(a) is silent on whether it

applies to military wartime detentions abroad,” Resp. 13. But the statute regulates any detention of

citizens “by the United States,” full stop. 7 If Congress meant to exclude the military from this


5
  The government cites then-Judge Ruth Bader Ginsburg’s concurrence in Sanchez-Espinoza v. Reagan,
770 F.2d 202 (D.C. Cir. 1985), which addressed a claim (dismissed as a non-justiciable political
question) by Members of Congress that the president’s lethal actions in Nicaragua had “deprived
[them] of their right to participate in the decision to declare war in violation of the war powers
clause of the Constitution,” id. at 210. But Justice Ginsburg joined Justice Souter’s Hamdi
concurrence—which the government conspicuously fails to address—rejecting the argument that
funding measures can authorize the detention of U.S. citizens. See 542 U.S. at 547 (Souter, J.,
concurring in part and dissenting in part). Like Sanchez-Espinoza, the other cases cited by the
government, which both unsuccessfully challenged the legality of the war in Vietnam, involved non-
justiciable political questions—unlike the detention of a U.S. citizen. See Resp. 9 (citing Massachusetts
v. Laird, 451 F.2d 26 (1st Cir. 1971); DaCosta v. Laird, 471 F.2d 1146 (2d Cir. 1973)),
6
  This clear-statement requirement is also rooted in the Constitution. See Traverse 5–6 (citing, inter
alia, Ex parte Endo, 323 U.S. 283 (1944)). The government tries to distinguish the circumstances in
Endo and those here by focusing on the fact that the detention in Endo was domestic and carried out
by a “civilian agency.” Resp. 12 n.14. But, as here, Endo concerned wartime authorities passed in a
time of crisis in an effort to protect national security. See 323 U.S. at 300–01.
7
 See Padilla v. Rumsfeld, 352 F.3d 695, 718–19 (2d Cir. 2003) (“We read the plain language of section
4001(a) to prohibit all detentions of citizens . . . . Not only has the government not made an
extraordinary showing of contrary intentions, but the legislative history of the . . . Act is fully
consistent with our reading of it.” (citation omitted)), rev’d and remanded on other grounds, 542 U.S. 426


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protection, it certainly could—and would—have said so. See Whitman v. Am. Trucking Ass’ns, Inc., 531

U.S. 457, 468 (2001) (Congress “does not . . . hide elephants in mouseholes.”). It did not.

          The government further argues that “[t]he structure and statutory placement of the

provision in Title 18, Part III . . . shows that it pertains solely to the detention of American citizens

by civilian authorities.” Resp. 13. To make the same point, the government cites the Act’s legislative

history, which it argues “confirms [the Act] was aimed solely at civil detentions” because “[t]he law’s

purpose was to prevent a repeat of the Japanese–American internment camps of World War II,”

which were operated by “a civilian agency.” Resp. 13 (citations omitted). But the legislative history

actually discredits the government’s theory. See Hamdi, 542 U.S. at 545–46 (Souter, J., concurring in

part and dissenting in part) (“placement in Title 18 was not meant to render the statute more

restricted than its terms”); Traverse 7–8 & n.3. And as referenced above, see supra at 5 n.6, the

internment camps that helped motivate the Non-Detention Act’s passage were a wartime measure

ordered by the military, and the Act’s legislative history shows that Congress understood the statute

to cover military as well as civil detentions. 8

          The government additionally argues that if this Court concludes that a clear congressional

statement authorizing the military detention of U.S. citizen members of ISIS is required, Hamdi

dictates that the 2001 and 2002 AUMFs provide the requisite statement. Resp. 14. But that is not so;

the Hamdi plurality found only that the 2001 AUMF authorized the detention of individuals “who

(2004).
8
 See Padilla, 352 F.3d at 718–19 (“Both the sponsor of the Act and its primary opponent repeatedly
confirmed that the Act applies to detention by the President during war and other times of national
crisis. . . . This context convinces us that military detentions were intended to be covered.”); Hamdi,
542 U.S. at 598 n.2 (Souter, J., concurring in part and dissenting in part) (“Nor is it possible to
distinguish between civilian and military authority to detain based on the congressional object of
avoiding another Korematsu v. United States . . . . Although a civilian agency authorized by Executive
order ran the detention camps, the relocation and detention of American citizens was ordered by the
military under authority of the President as Commander in Chief. The World War II internment was
thus ordered under the same Presidential power invoked [in Hamdi] and the intent to bar a repetition
goes to the action taken and authority claimed here.” (citations omitted)).


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fought against the United States in Afghanistan as part of the Taliban, an organization known to

have supported the al Qaeda terrorist network responsible for those attacks.” 542 U.S. at 518.

        Because detention was necessarily included in the authorization to use “all necessary and

appropriate force,” the relevant question for the plurality was not whether the AUMF “clearly and

unmistakably” authorized the detention of U.S. citizens. See id. at 519. It was whether Congress had

clearly authorized the use of force against alleged Taliban fighters like Hamdi. Id. at 518. Finding that

“[t]here can be no doubt” that individuals such as Hamdi “are individuals Congress sought to target

in passing the AUMF,” id., the plurality concluded that Congress had clearly and unmistakably

authorized the use of force against—and therefore, the detention of—such individuals. Id. at 519.

Here, by contrast, the same is not true with respect to U.S. citizen members of ISIS.

        The government’s theory is that both AUMFs “clearly and unmistakably” cover ISIS even

though ISIS had nothing to do with the 9/11 attacks, did not exist at the time of the attacks, and has

nothing to do with the Saddam Hussein regime, see Traverse 29–33. Especially given the pains the

Hamdi plurality took to cabin its ruling to the “narrow circumstances” presented, 542 U.S. at 519,

the government has pointed to nothing in that case suggesting that the Supreme Court’s already-

fractured outcome would have been the same had the Court been considering the detention of an

alleged member of a group unrelated to the 9/11 attacks. Nor can the government properly rely on

the 2012 NDAA to bolster its argument: far from clearly and unmistakably authorizing the detention

of U.S. citizens, the statute expressly disavows having any effect on the “existing law or authorities

relating to the detention of United States citizens.” National Defense Authorization Act for Fiscal

Year 2012 § 1021(e), Pub. L. No. 112-81, 125 Stat. 1298 (2012) (“2012 NDAA”); see also Traverse 34

(other funding and oversight provisions cited by the government fail to mention detention at all).

        In a last-ditch effort to avoid the clear-statement requirement, the government argues that

“the President’s authority to detain U.S. citizen enemy combatants” cannot be “less than coextensive



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with the AUMFs’ authorizations of force.” Resp. 15 n.19. But the Non-Detention Act and the

Constitution both dictate a different rule for U.S. citizens, and the 2012 NDAA’s express terms, at a

minimum, contemplate the possibility of the same. Moreover, because the Hamdi plurality found

that the detention of U.S. citizen members of the Taliban captured on a battlefield under the 2001

AUMF satisfied the clear-statement rule, 542 U.S. at 519, whatever the Hamdi plurality said about

detention being an “incident to war,” id. at 518, it did not have occasion to apply that principle when

it conflicted with the rights of U.S. citizens, as it does here. And importantly, finding that the

executive lacks authority to detain Petitioner under the AUMFs would not leave the military

“without recourse when confronted with a U.S. citizen fighting against it on a battlefield,” Resp. 15

n.19; the executive retains authority to capture and prosecute such citizens, see Traverse 35–36.

III.    Respondent has not established that ISIS was “part of” or an “associated force” of al
        Qaeda at the time of Petitioner’s capture in September 2017.

        By failing to contest the D.C. Circuit case law that establishes that the relevant time period

for purposes of Petitioner’s detention under the 2001 AUMF is the time of his capture in September

2017, see Traverse 15–17, 24–25, the government has conceded it. As a result, the government’s new

assertions concerning al Qaeda’s relationship with ISIS many years prior to Petitioner’s capture, see

Resp. 2–3 & Appendix, are irrelevant. As to whether ISIS was “part of” or an “associated force” of

al Qaeda at the time of Petitioner’s capture, the government’s argument remains unpersuasive.

        First, the government continues to find relevant the fact that “the split between” the groups

“resulted in part from ISIL’s claim that it—and not al-Qaida’s current leadership—is the true

executor of bin Laden’s legacy.” Resp. 3; Return ¶ 28. But Petitioner has already explained why that

claim does not render Petitioner detainable under the 2001 AUMF. See Traverse 14–17. The

government’s Response does not cite or confront a single case Petitioner cited on that point. See, e.g.,

Traverse 24–25 (citing, inter alia, Hamlily v. Obama, 616 F. Supp. 2d 63, 75 n.17 (D.D.C. 2009)); Al




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Ginco v. Obama, 626 F. Supp. 2d 123, 128–29 (D.D.C. 2009)). 9 And the government’s argument is

inconsistent with a different argument offered by the government: that “the intent of an opposing

force” cannot bear on the “scope of an authorization for use of military force.” Resp. 10 n.11. 10

        Second, the only additional evidence the government offers in its Response concerning the

organizations’ relationship at the relevant time period undercuts it. The government argues that a

recent U.N. report supports the idea that “[o]perationally, the two organizations remain engaged to

achieve common goals through hostilities against the United States and its coalition partners.” Resp.

3. But the report merely states that certain “Member States” have “highlighted that some members of

both organizations have been willing and able to support each other in the preparation of attacks,”

such that there is a “potential convergence of both networks” as “a potential new threat.” 11 And elsewhere,

the government has acknowledged the critical difference between concluding that individuals belong

to two groups and that two groups are one and the same. See Traverse 14 n.6.

        Third, the government argues that Petitioner relies on an “improper, narrowly circumscribed

definition of ‘associated force’ under the AUMF.” Resp. 10 n.10. But Petitioner’s argument is based

9
  Respondent for the first time describes the relationship between ISIS and al Qaeda as a “formal
merger.” Resp. 2, 3 n.4. But while the government weakly supports that conclusion by referencing
leaders’ “pledges of loyalty,” Resp. 2, and status as “associate[s] of Osama bin Laden before 9/11,”
Resp. 3 n.3 (emphasis added), Respondent has not even attempted to allege anything close to the
kind of evidence the D.C. Circuit has required before finding that a group has a sufficient
relationship to al Qaeda or the Taliban to qualify as an “associated force” under the 2001 AUMF. See
Traverse 25. Nor has Respondent ever alleged that ISIS, or any group the government has deemed a
clear predecessor to it, knew about or was involved in the September 11 attacks. See Traverse 9–13.
10
  To be clear, Petitioner did not “suggest[] that the Court must strike down the President’s
determination [concerning ISIS’s relationship with al Qaeda] unless Respondent can demonstrate . . .
‘gamesmanship’ aimed at manipulating the scope of the AUMFs,” Resp. 10 n.11. Rather, the
government argued that ISIS was “part of” or an “associated force” of al Qaeda in September 2017
because “[a] contrary interpretation . . . would allow an enemy force to manipulate the scope of the
2001 AUMF by splintering into rival factions while continuing to prosecute the same conflict against
the United States.” Return ¶ 28; Resp. 10 (worrying over “a shell game that enemies can exploit”).
Petitioner merely pointed out that no such concern applied here. See Traverse 26 n.13.
11
  United Nations Sec. Council, Twenty-First Report of the Analytical Support and Sanctions Monitoring
Team, S/2018/14/Rev.1, at 5 (Jan. 26, 2018) (emphases added).


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on D.C. Circuit law. See Traverse 21–22. Contrary to the government’s argument, Parhat v. Gates, 532

F.3d 834 (D.C. Cir. 2008), clearly addressed the term “associated forces,” id. at 844. Further, while

Petitioner does not dispute that the D.C. Circuit considers whether groups qualify as associated

forces under a “commonsense, functional standard,” Resp. 10 n.10, he has explained that ISIS is

nothing like the groups the appellate court has found to meet that standard. See Traverse 21–22.

       Finally, the government defends its interpretation of its detention authority on policy

grounds. Perhaps having realized that its prior concessions that ISIS and al Qaeda “split” by at the

latest 2014 and have since been “entirely independent” from one another, Return ¶ 18 & n.23, are

fatal to its argument concerning the reach of the 2001 AUMF under D.C. Circuit law, see Traverse

15–18, 20–28, the government now claims that Petitioner is “oversimplif[ying] . . . ISIL’s history,”

Resp. 9. But here, Petitioner has accepted Respondent’s history, which acknowledges the “split

between ISIL and al-Qaida.” Resp. 9. The government argues that the “need to respond to

unforeseen developments like the split . . . is why the Executive has broad discretion to determine

who to target under the AUMFs.” Resp. 9–10. But in passing the 2001 AUMF, Congress specifically

rejected the executive’s request for this kind of elastic and open-ended authority. See Traverse 10–

13. 12 Should the executive believe that such broader and more flexible authority is necessary,

“[n]othing prevents [it] from returning to Congress to seek” it, Hamdan v. Rumsfeld, 548 U.S. 557, 636

(2006) (Breyer, J., concurring). See Traverse 28 n.15 (Congress elsewhere enacted measures to allow

the executive “to address newly developed terrorist threats.”).

12
   Congress did not grant the executive the authority to “battle”—indefinitely and at its own
discretion—“two [or more] heads of a modern day Lernaean Hydra.” Resp. 10; see Hydra,
Britannica.com, https://www.britannica.com/topic/Hydra-Greek-mythology (nine-headed Hydra
of Greek mythology regenerated heads “as soon as one head was cut off”). Not even the
government argues that al Qaeda and ISIS have a common origin. See, e.g., Resp. 3 n.3 (among 31
aliases for ISIS, “al Qaeda” is not one of them). Rather, the government’s theory is that—at some
point after the 2001 AUMF’s passage—a predecessor organization of ISIS became associated with al
Qaeda. Thus, even if the 2001 AUMF does authorize the executive to battle two heads of the same
beast, al Qaeda and ISIS are two different beasts that only temporarily aligned.


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IV.     The president lacks “inherent authority” to detain Petitioner.

        The government continues to press the radical proposition that the president has “inherent

authority” to detain indefinitely U.S. citizens allegedly captured on a battlefield. Resp. 11 n.12. But

the government does not cite a single decision upholding the detention of a U.S. citizen on this

basis, and it ignores the fact that the prior administration abandoned this position. See Gherebi v.

Obama, 609 F. Supp. 2d 43, 53 & n.4 (D.D.C. 2009); Hamlily, 616 F. Supp. 2d at 66 n.1. As explained

previously, see Traverse 36–40, this Court should reject the government’s effort to resurrect this

extraordinarily dangerous claim of executive power.

        Petitioner agrees with Respondent that this case does not present the question whether the

President may rely on his Article II authority to “defend the Nation when it is attacked” or “deploy

troops in Iraq, Syria, or elsewhere.” Resp. 11 n.12. This case presents only the narrow question

whether, once the U.S. government has taken custody of a U.S. citizen, it may continue to detain

him indefinitely as an “enemy combatant.” Whatever “inherent authority” the president might have

to seize a U.S. citizen on a battlefield, he possesses no such authority to extend that detention

indefinitely at his discretion. Cf. Ex parte Milligan, 71 U.S. (4 Wall.) 2, 127 (1866) (“As necessity

creates the rule, so it limits its duration.”). The requirement of congressional authorization to detain

a citizen is not satisfied by a mere procedural opportunity to assert a habeas claim, see Resp. 11 n.12;

a valid suspension of the writ is the sole means by which a President can indefinitely detain a citizen

without positive congressional authorization for that detention, see Traverse 39–40; Youngstown Sheet

& Tube Co. v. Sawyer, 343 U.S. 579, 587 (1952).

                                                  * * *

        For the foregoing reasons, and for those stated previously, the Court should grant the

Petition for a Writ of Habeas Corpus and order the Petitioner’s release from unlawful U.S. custody.




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Dated: March 14, 2018                      Respectfully submitted,

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